Case 22-20743 Doc90-1 Filed 02/28/24 Entered 02/28/24 12:21:32 Pagelof4

B2540 (Form 2540 ~ Subpoena for Rule 2004 Examination) (12/15)

UNITED STATES BANKRUPTCY COURT

District of Connecticut

Inre  Rollcage Technology, Inc. Case No, 22720743 (JT)
Debtor

Chapter 7

SUBPOENA FOR RULE 2004 EXAMINATION

r Daniel M. Donshik, 7415 Riviera Cove, Lakewood Ranch, FL 34202
OQ:

(Name of person to whom the subpoena is directed)

KX] Testimony: YOU ARE COMMANDED to appear at the time, date, and place set forth below to testify at an examination
under Rule 2004, Federal Rules of Bankruptcy Procedure. A copy of the court order authorizing the examination is attached.

PLACE DATE AND TIME
Law Offices of Jeffrey Hellman, LLC via Zoom.com (instructions attached)
195 Church Street, 10th Floor April 3, 2024 at 10:00 a.m.

New Haven, CT 06510

sus . . court reporter
The examination will be recorded by this method: P

x] Production: You, or your representatives, must also bring with you to the examination the following documents,
electronically stored information, or objects, and must permit inspection, copying, testing, or sampling of the material:

See attached Schedule A.

The following provisions of Fed. R. Civ. P. 45, made applicable in bankruptcy cases by Fed. R. Bankr. P. 9016, are
attached — Rule 45(c), relating to the place of compliance; Rule 45(d), relating to your protection as a person subject to a
subpoena; and Rule 45(e) and 45(g), relating to your duty to respond to this subpoena and the potential consequences of not
doing so.

Date:
CLERK OF COURT

OR

Signature of Clerk or Deputy Clerk Attorney's signature

The name, address, email address, and telephone number of the attorney representing (name of party)
Anthony S. Novak, Chap. 7 Trustee, who issues or requests this subpoena, are:

Jeffrey Hellman, Esq., 195 Church St., Fl. 10, New Haven, CT 06510; 203.691.8762; jeff@jefthellmanlaw.com

Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things, or the
inspection of premises before trial, a notice and a copy of this subpoena must be served on each party before it is served on
the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
Case 22-20743 Doc90-1 Filed 02/28/24 Entered 02/28/24 12:21:32 Page 2of4

B2540 (Form 2540 — Subpoena for Rule 2004 Examination) (Page 2)

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

I received this subpoena for (name of individual and title, if any):

on (date)

["] I served the subpoena by delivering a copy to the named person as follows:

on (date) , or

[_] I returned the subpoena unexecuted because:

Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also tendered to the
witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of $

My fees are $ for travel and $ for services, for a total of $

I declare under penalty of perjury that this information is true and correct.

Date:

Server's signature

Printed name and title

Server's address

Additional information concerning attempted service, etc.:
Case 22-20743 Doc 90-1 Filed 02/28/24 Entered 02/28/24 12:21:32

B2540 (Form 2540 — Subpoena for Rule 2004 Examination) (Page 3)

Page 3 of 4

Federal Rule of Civil Procedure 45(c), (d), (ec), and (g) (Effective 12/1/13)
(made applicable in bankruptcy cases by Rule 9016, Federal Rules of Bankruptcy Procedure)

(c) Place of compliance.

(1) Kor a Trial, Hearing, or Deposition. A subpoena may command a
person to attend a trial, hearing, or deposition only as follows:
(A) within 100 miles of where the person resides, is employed, or
regularly transacts business in person; or
(B) within the state where the person resides, is employed, or regularly
transacts business in person, if the person
(i) is a party or a party’s officer; or
Gi) is commanded to attend a trial and would not incur substantial
expense.

(2) For Other Discovery, A subpoena may command:

(A) production of documents, or electronically stored information, or
things at a place within 100 miles of where the person resides, is employed,
or regularly transacts business in person; and

(B) inspection of premises, at the premises to be inspected.

(d) Protecting a Person Subject to a Subpoena; Enforcement.

(1) Avoiding Undue Burden or Expense; Sanctions. A party or
attorney responsible for issuing and serving a subpoena must take
reasonable steps to avoid imposing undue burden or expense on a person
subject to the subpoena. The court for the district where compliance is
required must enforce this duty and impose an appropriate sanction —
which may include lost earnings and reasonable attorney's fees — on a
party or attorney who fails to comply.

(2) Command to Produce Materials or Permit Inspection.

(A) Appearance Noi Required. A person commanded to produce
documents, electronically stored information, or tangible things, or to
permit the inspection of premises, need not appear in person at the place of
production or inspection unless also commanded to appear for a deposition,
hearing, or trial.

(B) Objections. A person commanded to produce documents or tangible
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing or
sampling any or all of the materials or to inspecting the premises — or to
producing electronically stored information in the form or forms requested.
The objection must be served before the earlier of the time specified for
compliance or 14 days after the subpoena is served. If an objection is made,
the following rules apply:

(i) At any time, on notice to the commanded person, the serving party
may move the court for the district where compliance is required for an
order compelling production or inspection.

(ii) These acts may be required only as directed in the order, and the
order must protect a person who is neither a party nor a party's officer from
significant expense resulting from compliance.

(3) Quashing or Modifying a Subpoena.

(A) When Required. On timely motion, the court for the district where

compliance is required must quash or modify a subpoena that:

(i) fails to allow a reasonable time to comply;

(ii) requires a person to comply beyond the geographical limits
specified in Rule 45(c);

(iii) requires disclosure of privileged or other protected matter, if no
exception or waiver applies; or

(iv) subjects a person to undue burden.

(B) When Permitted. To protect a person subject to or affected by a
subpoena, the court for the district where compliance is required may, on
motion, quash or modify the subpoena if it requires:

(i) disclosing a trade secret or other confidential research,
development, or commercial information; or

(ii) disclosing an unretained expert's opinion or information that does
not describe specific occurrences in dispute and results from the expert's
study that was not requested by a party.

(C) Specifying Conditions as an Alternative. In the circumstances
described in Rule 45(d)(3)(B), the court may, instead of quashing or
modifying a subpoena, order appearance or production under specified
conditions if the serving party:

(i) shows a substantial need for the testimony or material that cannot
be otherwise met without undue hardship; and

(ii) ensures that the subpoenaed person will be reasonably
compensated.

(e) Duties in Responding to a Subpoena.

(Ll) Producing Documents or Electronically Stored Information. These
procedures apply to producing documents or electronically stored
information:

(A) Documents. A person responding to a subpoena to produce
documents must produce them as they are kept in the ordinary course of
business or must organize and label them to correspond to the categories in
the demand.

(B) Form for Producing Electronically Stored Information Not
Specified. If a subpoena does not specify a form for producing
electronically stored information, the person responding must produce it in
a form or forms in which it is ordinarily maintained or in a reasonably
usable form or forms.

(C) Electronically Stored Information Produced in Only One Form. The
person responding need not produce the same electronically stored
information in more than one form.

(D) Inaccessible Electronically Stored Information. The person
responding need not provide discovery of electronically stored information
from sources that the person identifies as not reasonably accessible because
of undue burden or cost. On motion to compel discovery or for a protective
order, the person responding must show that the information is not
reasonably accessible because of undue burden or cost. If that showing 1s
made, the court may nonetheless order discovery from. such sources if the
requesting party shows good cause, considering the limitations of Rule
26(b)(2)(C). The court may specify conditions for the discovery.

(2) Claiming Privilege or Protection.

(A) Information Withheld. A person withholding subpoenaed
information under a claim that it is privileged or subject to protection as
trial-preparation material must:

(i) expressly make the claim; and

(ii) describe the nature of the withheld documents, communications,
or tangible things in a manner that, without revealing information itself
privileged or protected, will enable the parties to assess the claim.

(B) Information Produced. If information produced in response to a
subpoena is subject to a claim of privilege or of protection as trial-
preparation material, the person making the claim may notify any party that
received the information of the claim and the basis for it. After being
notified, a party must promptly return, sequester, or destroy the specified
information and any copies it has; must not use or disclose the information
until the claim is resolved; must take reasonable steps to retrieve the
information if the party disclosed it before being notified, and may
promptly present the information under seal to the court for the district
where compliance is required for a determination of the claim. The person
who produced the information must preserve the information until the claim
is resolved.

(g) Contempt. The court for the district where compliance is required ~ and
also, after a motion is transferred, the issuing court - may hold in contempt
a person who, having been served, fails without adequate excuse to obey
the subpoena or an order related to it

For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013)

Case 22-20743 Doc90-1 Filed 02/28/24 Entered 02/28/24 12:21:32 Page4of4

SCHEDULE A

1. All documents concerning all transfers and/or transactions referenced in the
Debtor’s Union Savings Bank accounts.
